10-12610-scc         Doc 589       Filed 03/23/12 Entered 03/23/12 16:44:13                       Main Document
                                                Pg 1 of 3



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                             )
In re:                                                                       )       Chapter 11
                                                                             )
NR LIQUIDATION III CO. INC., et al.,1                                        )       Case No. 10-12610 (SCC)
                                                                             )
                                    Debtors.                                 )       Jointly Administered
                                                                             )
                                                                             )

             FINAL DECREE CLOSING THE DEBTORS’ CHAPTER 11 CASES

                  Upon consideration of the motion (the “Motion”)2 of the Liquidator, pursuant to

sections 105 and 350 of the Bankruptcy Code, Bankruptcy Rule 3022, and Local Bankruptcy

Rule 3022-1, for the entry of a Final Decree closing the Debtors’ Chapter 11 Cases, as more fully

set forth in the Motion – including terminating KCC’s retention as Notice and Claims Agent; and

the Bankruptcy Court having jurisdiction to consider the Motion and the relief requested therein;

and it appearing that adequate and proper notice of the Motion has been given in accordance with

the Confirmation Order; and it appearing that no other or further notice need be provided; and

the Bankruptcy Court having determined that the relief sought in the Motion is in the best

interests of the Debtors, the Debtors’ creditors and other parties in interest, and the Debtors’

Estates; and upon the sufficiency of the Closing Report and this Bankruptcy Court’s approval

thereof; and upon the Motion and all of the proceedings had before this Bankruptcy Court and


1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: NR Liquidation II Co. LLC f/k/a Neff Holdings LLC (0571); NR Liquidation III
         Co. Inc. f/k/a Neff Corp. (6400); NR Liquidation V Co. Inc. f/k/a Neff Finance Corp. (3639); NR
         Liquidation I Co. Inc. f/k/a Neff Holdings Corp. (0431); NR Liquidation VI Co. Inc. f/k/a Neff Rental, Inc.
         (0403); and NR Liquidation IV Co. LLC f/k/a Neff Rental LLC (3649). The location of the Debtors’
         corporate headquarters prior to the transfer of substantially all of the Debtors’ assets, and subsequent wind-
         down of the Debtors’ estates, was 3750 N.W. 87th Ave., Suite 400, Miami, Florida 33178. The address of
         the liquidator winding down the Debtors’ estates is AlixPartners, LLP, 40 West 57th Street, 29th Floor,
         New York, New York 10019, Attn: Holly Felder Etlin.
2
         Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.
10-12610-scc      Doc 589      Filed 03/23/12 Entered 03/23/12 16:44:13            Main Document
                                            Pg 2 of 3



the full record of the Chapter 11 Cases; and after due deliberation and sufficient cause appearing

therefor, it is hereby

                ORDERED AND DECREED that the Motion is granted; and it is further

                ORDERED that the Chapter 11 Cases shall hereby be closed as of the date of

entry of this Order (the “Case Closing Date”), pursuant to section 350(a) of the Bankruptcy

Code, Bankruptcy Rule 3022, and Local Bankruptcy Rule 3022-1; and it is further

                ORDERED that the Clerk of the Bankruptcy Court is directed to file this Order on

the docket for each of the Chapter 11 Cases; and it is further

                ORDERED that on the Case Closing Date, the Clerk of the Bankruptcy Court

shall be and hereby is authorized to take such steps as are necessary to close the Chapter 11

Cases; and it is further

                ORDERED that effective no later than 180 days following the Case Closing Date

(the “KCC Termination Date”), the retention of KCC as Notice and Claims Agent in these

Chapter 11 Cases shall be terminated, and the Clerk’s Office shall thereafter serve as the noticing

agent, as necessary, to mail any notices to the Debtors’ creditors and other parties in interest; and

it is further

                ORDERED that within ten days of the Case Closing Date, KCC will transfer a

copy of the Claims Register to the Clerk’s Office and, upon termination, will box and transport

originals of all Proofs of Claims filed in the Chapter 11 Cases to the Federal Archives, if

applicable, at the direction of the Clerk’s Office; and it is further

                ORDERED that KCC shall continue to maintain copies of the Proofs of Claim

and Interests filed in the Chapter 11 Cases for a period of no less than one year following the




                                                  -2-
10-12610-scc      Doc 589      Filed 03/23/12 Entered 03/23/12 16:44:13         Main Document
                                            Pg 3 of 3



Case Closing Date and, following such date, KCC shall be authorized, but not obligated, to

destroy such documents; and it is further

                ORDERED that following termination of its retention, KCC shall transfer any

Proofs of Claims or other documents that KCC receives in its role as Notice and Claims Agent

(and any such Proof of Claims or Interests or other documents pertaining to these Chapter 11

Cases or the Debtors) to the Clerk’s Office, with a copy to the Purchaser and counsel to the

Purchaser, as soon as practicable after the receipt of such Proofs of Claims or Interests or other

documents; and it is further

                ORDERED that KCC shall be reimbursed by the Purchaser for all reasonable and

documented fees and expenses, along with any outstanding fees and expenses incurred in

connection with its services as Notice and Claims Agent and incurred in rendering the above

services from the Case Closing Date to the KCC Termination Date; and it is further

                ORDERED that the Liquidator is authorized to take all actions necessary to

effectuate this Order; and it is further

                ORDERED that entry of the Final Decree is without prejudice to the rights of the

Liquidator or any other party in interest to seek to reopen the Chapter 11 Cases for good cause

shown pursuant to section 350(b) of the Bankruptcy Code; and it is further

                ORDERED that the Bankruptcy Court shall retain jurisdiction to enforce or

interpret its own orders pertaining to the Chapter 11 Cases.

Dated: March 23, 2012
New York, New York


                                           /s/ Shelley C. Chapman
                                           HONORABLE SHELLEY C. CHAPMAN
                                           UNITED STATES BANKRUPTCY JUDGE



                                                 -3-
